                                                                                          FILED
                                                                                    December 01, 2022
                                                                                   CLERK, U.S. DISTRICT COURT
                                                                                   WESTERN DISTRICT OF TEXAS
                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS                                                     JU
                                                                                BY: ________________________________
                                   SAN ANTONIO DIVISION                                                 DEPUTY




 UNITED STATES OF AMERICA                       §
                                                §
                                                §
 v.                                             § Cause No.: SA: 22-CR-570-OLG
                                                §
 (1) CHANDLER BRITAIN BRADFORD                  §
 (3) RICARDO RODRIGUEZ-SOTELO                   §
                                                §
                                                §

                                    PROTECTIVE ORDER

       On this date, the Court considered the United States’ Unopposed Motion for a Protective

Order Under Rule 16(d)(1). The Court finds that the United States has shown Agood cause@ for the

issuance of the proposed Protective Order. Accordingly, the Court GRANTS the United States’

motion and enters the following order:

       IT IS ORDERED that given the sensitive nature of the discovery material, the

dissemination of any discovery materials provided, to any person, other than the Attorneys of

Record for the Defendants, in this case is prohibited. For purposes of this order, Attorneys of

Record include any defense investigator and/or support staff working at the direction of the

Attorney of Record; such persons are likewise bound by the restraints of this order.

       IT IS FURTHER ORDERED that no Attorney of Record in the above-captioned cause

shall release any discovery to any person, including, but not limited to, the Defendants’ family

members and the Defendants’ associates. In the event any written or electronic discovery is

provided to the defense, attorneys may show discovery to their client(s), and may discuss the

information with their client(s); however, attorneys may not reproduce or disseminate any

discovery, or copies of discovery to anyone, including the client.

       IT IS FURTHER ORDERED that if any Attorney of Record is substituted in this cause, all


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discovery materials, including copies thereof, shall immediately be returned to counsel of record

for the United States, who will be obligated to provide a copy of the discovery materials to new

counsel upon new counsel acknowledging his or her obligations under this Order.

         Finally, IT IS ORDERED that a copy of this Order shall be furnished to counsel of record

in this case and any successive counsel of record who enter an appearance after the date of this

Order.



         SIGNED AND ENTERED this             1st                       December
                                                                day of ____________, 2022.




                                             ORLANDO L. GARCIA
                                             UNITED STATES DISTRICT JUDGE




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